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 1   Jorge Alejandro Rojas
     Rojas.jorge96@gmail.com
 2   Plaintiff in Pro Se
 3   557 Cambridge Way
     Bolingbrook, IL 60440
 4   424-219-1582
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 8                          UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
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11   JORGE ALEJANDRO ROJAS,                      Case No. 2:23-cv-02837-DSF-AS
12                           Plaintiff,                   Judge Dale S. Fischer
13               v.                                     Magistrate Judge Alka Sagar
14                                                      NOTICE OF VOLUNTARY
15   FRANKLIN LEGAL GROUP, PC, et al,                        DISMISSAL
                      Defendants.
16
17
18         Plaintiff, Jorge Alejandro Rojas, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i),
19   voluntarily dismisses this action, with prejudice, as to all Defendants (Franklin Legal
20   Group, PC, Thomas Moore, Advocate Debt Relief, LLC, Joshua Valentine, Start New
21   Settlement, LLC, and Dean Sundrla).
22         Respectfully submitted,
23         Dated: June 6, 2023
24                                              /s/ Jorge Alejandro Rojas
                                                JORGE ALEJANDRO ROJAS
25                                              Rojas.jorge96@gmail.com
                                                Plaintiff in Pro Se
26                                              557 Cambridge Way
                                                Bolingbrook, IL 60440
27                                              (424) 219-1582
28



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 1                               CERTIFICATE OF SERVICE
 2
           The undersigned certifies that a copy of this filing will be sent to the Defendants via
 3
     e-mail on the same day as filing this document.
 4
           Dated: June 6, 2023
 5
                                                   /s/ Jorge Alejandro Rojas
 6                                                 JORGE ALEJANDRO ROJAS
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